
473 F.Supp.2d 1381 (2007)
In re MOVIE ARTWORK COPYRIGHT LITIGATION
Toho Co., Ltd.
v.
A.V.E.L.A., Inc., et al., C.D. California, C.A. No. 2:06-1385
Fleischer Studios, Inc.
v.
A.V.E.L.A., INC., et al., C.D. California, C.A. No. 2:06-6229
Warner Bros. Entertainment, Inc., et al.
v.
Dave Grossman Creations, Inc., et al., E.D. Missouri, C.A. No. 4:06-546
King Features Syndicate, Inc., et al.
v.
A.V.E.L.A., Inc., et al., S.D. New York, C.A. No. 1:06-6464
No. MDL 1823.
Judicial Panel on Multidistrict Litigation.
February 7, 2007.
*1382 Before WM. TERRELL HODGES,[*] Chairman, D. LOWELL JENSEN,[*] J. FREDERICK MOTZ, ROBERT L. MILLER, Jr., KATHRYN H. VRATIL, DAVID R. HANSEN and ANTHONY J. SCIRICA, Judges of the Panel.

ORDER DENYING TRANSFER
J. FREDERICK MOTZ, Acting Chairman.
This litigation currently consists of two actions pending in the Central District of California and one action each in the Eastern District of Missouri and the Southern District of New York. Defendants A.V.E.L.A., Inc., Art-Nostalgia.com, Inc., X One X Movie Archive, Inc., Leo Valencia, and Beverly Hills Teddy Bear Co. move the Panel, pursuant to 28 U.S.C. § 1407, for an order centralizing this litigation in the Central District of California. Plaintiffs in the four actions oppose transfer.
On the basis of the papers filed and hearing session held, the Panel finds that Section 1407 centralization presently would neither serve the convenience of the parties and witnesses nor further the just and efficient conduct of this litigation. In this docket containing just four actions, movants have failed to persuade us that any common questions of fact and law are sufficiently complex and/or numerous to justify Section 1407 transfer under the current circumstances. Each of the four actions involves defendants' alleged infringement of different copyrights and trademarks owned by different entities and covering different movie and carton characters. No common intellectual property is at issue. The asserted common factual questions identified by defendants appear to be either simply a generic listing of elements found in virtually every copyright and trademark infringement action, or issues that arise in any situation involving multiple actions brought against a common defendant or defendants. Centralization would also likely delay the progress of one or more of the four actions, in particular, the Central District of California action that is set for trial in April 2007.
IT IS THEREFORE ORDERED that the motion for centralization of these four actions is denied.
NOTES
[*]  Judges Hodges and Jensen took no part in the disposition of this matter.

